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10
                                       UNITED STATES DISTRICT COURT
11
                                      NORTHERN DISTRICT OF CALIFORNIA
12
                                          SAN FRANCISCO DIVISION
13

14   UNITED STATES OF AMERICA,                         )   CASE NO. CR 22-00270 WHO
                                                       )
15           Plaintiff,                                )
                                                       )   DECLARATION OF DAVID J. WARD IN
16      v.                                             )   SUPPORT OF UNITED STATES’ MOTION TO
                                                       )   EXCLUDE EXPERT TESTIMONY
17   JOHN FRANCIS PORTER,                              )
                                                       )
18           Defendant.                                )
                                                       )
19                                                     )

20           I, David J. Ward, declare and state as follows:
21           1. I am an Assistant United States Attorney for the Northern District of California assigned to
22               the prosecution of the above-captioned case.
23           2. Attached as Exhibit A is a true and correct copy of the Expert Report of Ann Ravel and
24               attached exhibits, which was provided to the government on February 27, 2023.
25           3. Attached as Exhibit B is a true and correct copy of a March 2, 2023 letter from Assistant
26               U.S. Attorneys David Ward and Ilham Hosseini to defendant Porter related to defendant’s
27               expert disclosure.
28                                                         1
     WARD DECL. ISO MOT. TO EXCLUDE EXPERT
     22-CR-00270 WHO.

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            Case 3:22-cr-00270-WHO Document 85-1 Filed 04/04/23 Page 2 of 2




 1          4. Attached as Exhibit C is a true and correct copy of a March 13, 2023 letter from Robb

 2             Adkins, counsel for defendant Porter, in response to the government’s March 3, 2023 letter.

 3

 4 Executed this 4th day of April, 2023, in San Francisco, California.

 5

 6

 7                                                             __/s/ David Ward_________
                                                               DAVID J. WARD
 8                                                             Assistant United States Attorney
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     WARD DECL. ISO MOT. TO EXCLUDE EXPERT
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